Case: 14-11916-CJP Doc #: 4436 Filed: 08/23/19 Desc: Main Document Page 1 of 5

Office of the United States Trustee
Region 1
Quarterly Post-Confirmation Summary Report
For the Period Ending August 12, 2019

IN RE: GT Advanced Technologies Inc.,et,al

GT Advanced Technologies Inc. and

GT Advanced Technologies Limited CASE NO. 14-11916 (HJB)
REORGANIZED DEBTOR(S)

Confirmation Date: March 8, 2016

Disbursing Agent: (if applicable) Delaware Trust Company

1.) BEGINNING OF QUARTER CASH BALANCE: $(1,233,283
Cash Receipts this quarter:

From business operations $ 72
From loan proceeds

From contributed capital

From tax refunds $

From other sources (identify) Preference Claims  $

2.) TOTAL CASH RECEIPTS $ 72

Cash Disbursements this Quarter:*

Plan payments - Administrative $
Plan payments - Secured Creditors $
Plan payments - Priority Creditors $
Plan payments - Unsecured Creditors $
Plan payments - Other $

$

Other payments 32,815
3.) TOTAL CASH DISBURSEMENTS $ 32,815
4.) INTER DEBTOR TRANSFERS $
5.) END OF QUARTER CASH BALANCE: $ (1,266,026) *|

(line | + line 2 - line 3 — line 4 = line 5)
Case: 14-11916-CJP Doc #: 4436 Filed: 08/23/19 Desc: Main Document Page 2 of 5

*Amount reflects the net debits from the distribution agent account from which cash
distributions are made to creditors of the remaining Debtor entities. Actual cash
balances for each of these debtors are set forth on page 5

* Please attach detail. ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR
OR ON BEHALF OF THE REORGANIZED DEBTOR, EITHER UNDER THE PLAN OR
OTHERWISE, MUST BE ACCOUNTED FOR AND REPORTED HEREIN FOR THE
PURPOSES OF CALCULATING QUARTERLY FEES.

1. Projected date of Application for Final Decree:
Final decree was approved on August 12, 2019 Doc # 4435

2. Have plan payments been timely disbursed as required by the Plan? (Please circle) Yes No

If no, explain the circumstances that have impacted the Debtor’s ability to perform under the plan.

 

 

 

 

3. Is the Debtor current with all post-petition and post confirmation debt? Yes No. If No,

please describe.

 

 

 

4. What remaining issues require resolution before an Application for Final Decree will be filed?

None

Pursuant to 28 U.S.C. §1746(2), I hereby declare under penalty of perjury that the information
contained in this document is true, complete, and correct to the best of my knowledge and belief.

AUTHORIZED INDIVIDUAL

/), .
Lit ~ /
Dated: August 23, 2019 By: | VU chil Pipes it
(Signature)

 

Name & Title: Michele Rayos
Vice President and CFO
Address: 5 Wentworth Dr., Unit 1
Hudson, NH 03051
Page 3 of 5

Case: 14-11916-CJP Doc #: 4436 Filed: 08/23/19 Desc: Main Document

 

 

 

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Page 4 of 5

Case: 14-11916-CJP Doc #: 4436 Filed: 08/23/19 Desc: Main Document

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case: 14-11916-CJP Doc #: 4436 Filed: 08/23/19 Desc: Main Document Page 5 of 5

GT ADVANCED TECHNOLOGIES INC. etal. Case No. 14-11916
Debtor Reporting Period 7/1/19 - 8/15/19

LITIGATION TRUST SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

 

 

 

 

BEGINNING
CASH BANK CASH BANK CASH ENDING CASH
ENTITY NAME BALANCE RECEIPTS | DISBURSEMENTS | BALANCE
Litigation Trust $1,812,747 | $ - [$ (49,931)} $ 1,762,815

 

NOTE:
Pursuant to paragraph 8 of the Stipulation with the U.S. Trustee (Docket No. 3579),
cash disbursements by the Litigation Trustee are not subject to quarterly fees under 28 U.S.C. § 1930.
